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                              UNITED STATES DISTRICT COURT
    9                        CENTRAL DISTRICT OF CALIFORNIA

    10 JENNIFER BOTELHO                             CASE NO:
                                                    2:16−cv−08085−SVW−MRW
    11                   Plaintiff(s),
    12         v.                                   ORDER SETTING INITIAL
    13 TECHNOLOGICAL MEDICAL                        STATUS CONFERENCE
       ADVANCEMENTS LLC
    14
    15
                        Defendant(s).
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    18
                         IT IS HEREBY ORDERED that a Status Conference be set
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         for Monday, April 17, 2017 at 03:00 PM, before the Honorable Stephen V.
    20
         Wilson. The attorneys attending this conference MUST be those who are in charge
    21
         of the conduct of the trial. Attendance is mandatory.
    22                   This Court views this status conference as critical to its case
    23   management responsibilities. Counsel are required to approach it with the same
    24   seriousness.
    25                   IT IS FURTHER ORDERED that counsel meet and confer prior
    26   to conference in accordance with Local Rule 26, however, counsel are not required
    27   ///
    28   ///

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         to file any documents, such as an Early Meeting Report or the Status Conference
    2
         Report.
    3                  Failure on the part of counsel to participate knowledgeably in
    4    the conference may result in sanctions.
    5                  IT IS FURTHER ORDERED that, at the Status Conference,
    6    counsel must be fully prepared to inform the Court of the following:
    7                  (1) the theory of the case, both factual and legal,
    8                  (2) settlement potential and approaches including an
    9                      examination of whether a limited trial on certain bifurcated
    10                     issues could lead to an overall disposition of the case,
    11                 (3) length of trial, jury vs non−jury, unusual trial problems, etc.,
    12                 (4) motions to be filed and an explanation for their necessity.
    13                 This Court will not continue this status conference except upon
    14   a showing of good cause.
    15                 (Rule 26f) Counsel should view the discovery period as a time
    16   for the orderly and cooperative exchange of information essential to a resolution
    17   of the case. Sanctions will be imposed if counsel impede the discovery process
    18   through contentiousness and over−litigiousness. In short, the Court does not view

    19   the pre−trial process as an arena or a series of hostile skirmishes, but rather as a

    20   structure through which legal and factual positions are openly and candidly
    21   exchanged. The goal must be the early and inexpensive settlement of the cases
    22   or the refinement of issues for trial.
    23                 All discovery matters have been referred to a United States

    24   Magistrate Judge as provided in this Court's Standing Order. Discovery disputes

    25   of a significant nature should be brought promptly before the Magistrate Judge.

    26   The Court does not look favorably upon delay resulting from unnecessarily
    27   unresolved discovery disputes. Any discovery disputes that are not resolved
    28   three (3) weeks prior to the scheduled trial date should be brought promptly

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          and directly to the attention of this Court.
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                         Plaintiff's counsel, or counsel for defendant if plaintiff is pro se,
    3     is to provide written notice of this conference and the meeting requirements
    4     to any parties appearing, who are known and not yet formally appeared, on
    5     or after the date of this order.
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             IT IS SO ORDERED.
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         DATED: March 6, 2017
    9                                        Stephen V. Wilson
                                             United States District Judge
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